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                         Exhibit 12
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                  Kelley Declaration
                       Exhibit A
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                                Laura D. Kelley, Ph.D.
                           History Department, Tulane University
                                  6823 St. Charles Avenue
                                  New Orleans, LA 70118
                                      (504) 865-5162
                                    kelleyld@tulane.edu




EDUCATION
    Ph.D., United States History, Tulane University, 2004
           Dissertation: “Erin’s Enterprise: Immigration by Appropriation, The Irish in
           Antebellum New Orleans”

       M.A., United States History, Tulane University, 1999
              Thesis: “Children of Refuge: Irish Immigrant Families in New Orleans, 1830-
              1860”

       B.A., History/ Archaeology, University of San Diego, 1992
              Magna cum Laude, Departmental Honors, Dean’s List First Honors

TEACHING EXPERIENCE
    Tulane University, 1995-Present
           TIDES: Irish in New Orleans (Service Learning)
           HISU 141: U.S. History 1492-1865
           HISU 142: U.S. History 1865 to the Present
           HISU 347: Colonial Louisiana History
           HISU 348: Louisiana History
           HISU 393: Jazz Age 1919-1929
           HISU 393: The 50s, 60s, 70s
           HISU 394: Rebellion to Reform
           HISU 394: Irish in America
           HISU 394: Gulf Coast Native Americans
           HISU 394: Civil Rights
           HISU 394: Living History (Service Learning)
           HISU 492: Native Americans in Colonial Louisiana (Independent Study)
           HISU 492: 20th Century LA Native American Research (Independent Study)
           HISU 492: Oral History and Research (Independent Study)
           HISU 645: Jacksonian America
           HISU 693: Hidden Histories of New Orleans (Service Learning)




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       Loyola University, 2000-2001
              HIST 121: World Civilizations to 1650
              HIST 122: World Civilizations 1650-Present

SELECTED WORKS IN PROGRESS
  • Forthcoming from the University of Mississippi Press, Erin’s Enterprise: The
     Development of the Irish Community in Antebellum New Orleans
  • Forthcoming “The Pointe-au-Chien Indian Tribe of Louisiana: Tribal Development as a
     Consequence of 18th Century French Geopolitics”
  • “Children of Refuge: Irish Immigrant Families in New Orleans, A Case Study of Survival
     Strategy” Louisiana History: The Journal of the Louisiana Historical Association, Winter
     2011 Vol. LII No. 1
  • KnowLA Project Essays
         o Essays on Margaret Haughery, Irish in Louisiana, Yellow Fever, Natchitoches
            Settlement (1714), Overview Essay on Native American History in Louisiana,
            18th Century Louisiana Native American History, Missionary Activity among
            Native Americans, Petites Nations in 18th Century Louisiana, and tribal histories
            of the Acolapissa, Bayagoula, Chitimacha, Tunica-Biloxi, and Chawasha and
            Washa
  • Two chapters on the history of Native Americans in Southern Louisiana during the
     colonial period for the Pointe-au-Chien Indian Tribe as part of a grant received from the
     Administration for Native Americans and to be published by the University of
     Mississippi Press

DIRECTED RESEARCH AND ONGOING PROJECTS
   • History Consultant to the Pointe-au-Chien Indian Tribe (PACIT) concerning the
     historical criteria for federal tribal acknowledgement, 2005-Present
   • Organized and directed research projects involving members of the PACIT and Tulane
     University students, 2008-Present
             Topics included
         o Foodways and recipes of PACIT; examination of production and consumption of
             food; identity and social relationships; household economy and subsistence
         o Kinship and community projects; gender roles; mapping members of PACIT and
             examining and documenting relationships over geography (space) and time
         o Recent history of PACIT (1990s to the present)
         o Role of the land in shaping the community
         o Role of education and discrimination (20th-Century) and PACIT
         o “Day in the life of” 21st Century Native American Indian Project

ACTIVITIES
  • Louisiana Historical Association, Membership Committee and Hugh F. Rankin Prize
     Committee, 2011-Present
  • Tulane Faculty Fellow, 2011-Present
  • Section Editor, Native American History for the Louisiana Endowment for the
     Humanities KnowLA Project, 2008-Present



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   •   Section Editor, Ethnicity for the Louisiana Endowment for the Humanities KnowLA
       Project, 2008-Present
   •   Tulane Honor Board Member, 2006-Present
   •   Executive Chair for the 2012 International Meeting of the American Conference for Irish
       Studies (ACIS), March 2012, New Orleans
   •   American Conference for Irish Studies, Annual International Meeting, paper presentation,
       April 2011: The Lost Children of Erin: Revisited
   •   Guest Speaker, Radio Show Stirin’ it Up, October 30, 2010 and March 11, 2011
       (Discussion on Irish Cultural Practices and History)
   •   American Conference for Irish Studies, Annual International Meeting, paper presentation,
       May 2010: Erin's Enterprise: An Example of Social Entrepreneurship
   •   Guest Speaker, St. Alphonsus Arts and Cultural Center, March 2010: Survival Strategies
       of Irish Immigrants during the Devastating Yellow Fever Epidemic of 1853
   •   Business History Conference, Annual Conference, paper presentation, March 2010: The
       Business of Women: Irish Women, Work and Female Entrepreneurship in Antebellum
       New Orleans
   •   Guest speaker, Save our Cemeteries, September 2009: Faith, Hope, and Charity: Irish
       Communities in New Orleans
   •   American Society for Ethnohistory, Annual Conference, paper presentation, October
       2009: Bayou Retreat: Native American Communities in Southern Louisiana; Chair-
       General Session: Ethnicities and Ethnohistory in Louisiana
   •   Midwest Conference on British Studies, Annual Conference, paper presentation, October
       2009: The Lost Children of Erin: Irish Families and the Catholic Church
   •   American Conference for Irish Studies, Mid-Western Meeting, paper presentation,
       October 2009: Love, Sweat, and Tears: The Resilience of the Irish Community
   •   Social Science History Association, Annual International Conference, paper presentation,
       November 2009: Erin’s Mothers: Survival Strategies and the Family; Discussant Female-
       Headed Households II Session
   •   Organization of American Historians, Annual International Conference, paper
       presentation, March 2009: Crossing the Boundaries of Ethnicity and Race Panel
   •   Guest Speaker, Gonzaga University, March 2009: “The Lost Children of Erin”
   •   Publications Committee for Louisiana History: The Journal of the Louisiana Historical
       Association, 2008-2011
   •   Louisiana History Conference, paper presentation, March 2008: “Children of Refuge”
   •   Graduate Student Liaison, History Department, Tulane University, 2001-2002
   •   Supervisor and Fundraiser, Tulane Academic Excursion to Turkey, Summer 2000
   •   Social Sciences Representative, Graduate Council, 1998-1999
   •   Guest Speaker on BBC Radio, 1998: “A History of War and Peace: The Louisiana
       Purchase”

AWARDS
  • Center for Public Service at Tulane University, Community Based Research Grant,
    Hidden Histories of New Orleans, 2011-2012




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 •   Center for Public Service at Tulane University, Community Based Research Grant,
     Living History: Historical Examination of Louisiana Native American Communities,
     2009-2010
 •   Who’s Who Among Teachers in American Universities and Colleges, 2005-06
 •   John T. Monroe Fellowship, Tulane University, 2002-2003
 •   American History Scholarship Award, Colonial Dames of Louisiana, 2002
 •   Research Fellowship, Tulane University, 1996-1998
 •   Research Grant, Center for Research on Women, Tulane University, 1997
 •   Teaching Assistantship, Tulane University, 1993-1995
 •   Research Grant, University of San Diego, 1991




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